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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


   TEAM WORLDWIDE CORPORATION,

               Plaintiff,
                                              Case No. 2:19-cv-00092-JRG-RSP
   v.
   ACADEMY, LTD d/b/a ACADEMY SPORTS +
   OUTDOORS,                                  LEAD CASE

               Defendant.


   ACE HARDWARE CORPORATION,                  Case No. 2:19-cv-00093-JRG-RSP

   AMAZON.COM, INC., AMAZON.COM LLC,          Case No. 2:19-cv-00094-JRG-RSP

   BED BATH & BEYOND INC.,                    Case No. 2:19-cv-00095-JRG-RSP

   COSTCO WHOLESALE CORPORATION,              Case No. 2:19-cv-00096-JRG-RSP

   DICK'S SPORTING GOODS, INC.,               Case No. 2:19-cv-00097-JRG-RSP

   HOME DEPOT PRODUCT AUTHORITY, LLC,         Case No. 2:19-cv-00098-JRG-RSP
   HOME DEPOT U.S.A., INC.,

   MACY’S RETAIL HOLDINGS, INC.,              Case No. 2:19-cv-00099-JRG-RSP
   MACY'S.COM, LLC,

   TARGET CORPORATION,                        Case No. 2:19-cv-00100-JRG-RSP

   SEARS, ROEBUCK AND CO., SEARS
   HOLDINGS CORPORATION, TRANSFORM SR         Case No. 2:20-cv-00006-JRG-RSP
   LLC, AND TRANSFORM KM LLC,                 CONSOLIDATED CASES

              Defendants.


          PLAINTIFF TEAM WORLDWIDE CORPORATION’S OBJECTIONS TO
        MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION (DKT. NO. 393)
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          Plaintiff Team Worldwide Corporation (“TWW”) respectfully objects to the Magistrate

   Judge’s Report and Recommendation (Dkt. No. 393, “R&R”) regarding Defendants’ marking MSJ

   (further clarified at Dkt. No. 396) and requests an oral hearing under Local Rule 7(g). No

   governing case supports the statement in the R&R that “TWW is precluded from seeking pre-suit

   damages.” R&R at 9. That ruling constitutes clear legal error contrary to the Federal Circuit’s

   controlling authority in Am. Med. Sys. v. Med. Eng’g Corp., 6 F.3d 1523 (Fed. Cir. 1993), which

   held as a matter of law that patentees are allowed pre-suit damages for a period of pre-suit

   compliance with the constructive notice provision in § 287(a) despite a period of non-compliance.

          35 U.S.C. § 287(a) itself expressly allows damages for patentees that comply with the

   constructive notice marking requirement. No governing case holds that damages for that pre-suit

   compliance period are forfeited for the reasons stated in the R&R. There is, accordingly, no

   justification for depriving TWW of damages for 3-1/2 years of compliance because of a subsequent

   6-month period of non-compliance. Where patentees and their licensees sold marked products for

   part of the pre-trial period and unmarked products at other times, damages are permitted for the

   entire period of compliance. No case precludes such damages.

          And no case disallowed all pre-suit damages because unmarked products were sold during

   an isolated time period. Where, as here, products were marked for identifiable blocs of time and

   unmarked for others, courts uniformly award damages for the compliant period even while denying

   damages for the non-compliant segments. See Am. Med. Sys., 6 F.3d at 1534; Metrologic

   Instruments, Inc. v. PSC, Inc., No. 99-4876, 2004 U.S. Dist. LEXIS 24949, at *60 (D.N.J. Dec.

   13, 2004); Clancy Sys. Int’l v. Symbol Techs., Inc., 953 F. Supp. 1170 (D. Colo. 1997). That result

   is faithful to the text of § 287. It is also mandated by the Federal Circuit’s holding in Am. Med.

   Sys. The decisions in Arctic Cat I and II are not to the contrary because the Arctic Cat patentee




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   had no period of pre-suit compliance with the notice requirements of § 287.

   I.     The American Medical Systems Case Controls.

          35 U.S.C. § 287 permits pre-suit damages when “[p]atentees, and persons making, offering

   for sale, or selling within the United States any patented article for or under them, or importing

   any patented article into the United States, give notice to the public that the same is patented[.]”

   Under controlling Federal Circuit law, patentees—like TWW—who comply with the statute may

   seek pre-suit damages for the duration of their pre-suit compliance periods.

          The Am. Med. Sys. case addressed what pre-suit damages may be awarded to a patentee

   with periods of compliance and non-compliance with § 287. See Am. Med. Sys., 6 F.3d at 1534. In

   Am. Med. Sys., the patentee began shipping its marked products after a period of noncompliance.

   Because of this period of noncompliance, the district court found that the patentee failed to comply

   with § 287. Id. at 1535. On appeal, the patentee argued that the district court erroneously

   interpreted § 287(a) and that under the correct interpretation it was entitled to damages during the

   time it complied with the marking statute. Id. The Federal Circuit agreed with the patentee, stating

   that “once marking has begun in compliance with the statute, in rem notice is provided and there

   is no reason to further limit damages on [account of a periodic failure to mark.]” Id. at 1357.

          The Federal Circuit further noted that “it is not the number of articles seen by the defendant

   which is controlling on an issue of marking… but whether the patentee performed this statutory

   duty which was a prerequisite to his in rem notice to the world.” Id. (quoting Hazeltine Corp. v.

   Radio Corp. of Am., 20 F. Supp. 668, 671 (S.D.N.Y. 1937)). Am. Med. Sys. controls the analysis

   in this case. By complying with the marking statute—for at least the substantial time period at

   issue—TWW effectively provided notice and thus, there is no basis for precluding all pre-suit

   damages on the account of a limited failure to mark. Id. at 1357.




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          The Federal Circuit’s opinion in Am. Med. Sys. has been applied by district courts faced

   with periods of compliance and non-compliance with § 287. In Metrologic Instruments, Inc. v.

   PSC, Inc., it was undisputed that the patentee was properly marking its products at the time [the

   accused infringer] began to infringe. 2004 U.S. Dist. LEXIS 24949, at *60 (D.N.J. Dec. 13, 2004).

   The district court found accordingly that “[d]uring this period of proper marking, would-be-

   infringers had constructive notice.” The court concluded that pre-suit damages were available for

   the period of initial marking compliance by the patentee despite subsequent non-compliance. 1 In

   the instant case, Defendants likewise do not dispute that TWW properly marked its products for

   over 3 and 1/2 years, during which Defendants were infringing.

   II.    The Arctic Cat Cases Did Not Overrule American Medical Systems.

          The Federal Circuit in Arctic Cat Inc. v. Bombardier Rec. Prods., 876 F.3d 1350 (Fed. Cir.

   2017) (“Arctic Cat I”) and Arctic Cat Inc. v. Bombardier Rec. Prods., 950 F.3d 860 (Fed. Cir.

   2020) (“Arctic Cat II”), which is substantively at issue here, was not faced with a patentee who

   had periods of compliance and non-compliance with § 287. Those facts are dispositively different

   from Am. Med. Sys. and from this case. Accordingly, the Arctic Cat cases did not change or

   overrule the law set forth in Am. Med. Sys. Indeed, Arctic Cat expressly cited Am. Med. Sys. with

   approval. 950 F.3d at 865-66.

          In Arctic Cat II, the Federal Circuit addressed § 287 issue on facts totally unlike Am. Med.

   Sys. and this case. On a record where the patentee’s pre-suit sales never complied with § 287, the

   Federal Circuit decided only “whether the cessation of sales of unmarked products excuses



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    The district Court’s order in Clancy Sys. Int’l v. Symbol Techs., Inc., 953 F. Supp. 1170 (D. Colo.
   1997) is also relevant here. There the Court posited and analyzed the precise situation at issue here
   where a patentee marked its products, but a subsequent licensee did not, stating that “it would
   make no sense to hold that the new licensee’s failure to mark eliminates, retroactively, years of
   appropriate constructive notice.” Id. at 1174.


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   noncompliance with the notice requirement of § 287 such that a patentee may recover damages for

   the period after sales of unmarked products ceased but before the filing of a suit for infringement.”

   950 F.3d at 864 (emphasis added). The issue before the Federal Circuit in Arctic Cat II is entirely

   inapposite and inapplicable to the present case.

          Critically, Arctic Cat II specifically reaffirmed the Federal Circuit’s holding in Am. Med.

   Sys. and distinguished it from the facts in Arctic Cat II: “[i]n American Medical Systems, 6 F.3d at

   1537, we interpreted § 287 to allow a patentee who had sold unmarked products to begin

   recovering damages after the patentee began marking.” Id. at 865. The Court held in Arctic Cat II

   that where products were never marked and sales of the products simply ceased, “but Arctic Cat

   otherwise took no action to remedy prior noncompliance or to provide notice that the articles were

   actually patented, Arctic Cat never complied with the notice requirement of § 287 and thus cannot

   recover damages for any period prior to the filing of its complaint.” Id. at 865-866. The Arctic Cat

   II Court’s statement that the notice requirement cannot “be switched on and off” specifically holds

   that the statute cannot be turned off by ceasing production after a patentee begins selling patented

   production. Arctic Cat II, at 865. Arctic Cat II does not purport to address patentees with a period

   of full compliance with the marking statute and a limited period of non-compliance like TWW,

   which remains governed by Am. Med. Sys.

          Arctic Cat II did not limit or overrule any aspect of the Court’s holding in Am. Med. Sys.,

   nor could it. Arctic Cat II presented the Federal Circuit with entirely different facts—namely the

   availability of pre-suit damages to a patentee that was wholly non-compliant with § 287 for the

   entire pre-suit period. Further, Arctic Cat II certainly did not change the language or meaning of §

   287. TWW is not claiming that it is excused from the requirements of § 287 due to a period of

   inactivity. No cessation of sales—like the one in Arctic Cat II—is at issue in this case. In contrast




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   to the patentee in Arctic Cat II, TWW demonstrated years of complete compliance with the

   marking statute—including when the ’018 Patent issued and Defendant’s infringement began—

   and is seeking damages for that period of pre-suit compliance.

          The preclusion of all pre-suit damages in this case misperceives the dispositive difference

   with Arctic Cat II. Most particularly, Arctic Cat II cited Am. Med. Sys. with approval for the policy

   behind §287 that rewards patentees for marking and does not reward them for failing to mark.

   Here, TWW indisputably did mark for 3-1/2 years. Yet the R&R in this case penalizes TWW by

   depriving it of statutory pre-suit damages for the full time it marked its products under § 287. The

   constructive notice provision of § 287 was not intended to punish patentees like TWW. Years of

   pre-suit compliance with the marking statute, and accrued damages should not be eliminated by

   six months of non-compliance with § 287 under the prevailing authority.

   III.   Target Had Actual Notice of Its Infringement.

          Prior to the Walmart settlement, TWW provided actual notice of infringement to

   Defendant’s suppliers – Intex, Bestway and Coleman. The R&R did not analyze the impact of the

   fact that Defendant’s suppliers are indemnifying and defending it in this litigation to the actual

   notice question. Moreover, TWW provided products directly to Target marked with the ‘018 patent

   (that Target resold to the public). For both of the foregoing reasons, TWW respectfully submits

   that it should be permitted to argue to the jury that Target was on actual notice of infringement

   prior to the Walmart settlement.

   IV.    CONCLUSION

          For at least the foregoing reasons, TWW respectfully requests that the Court reject the

   R&R as discussed herein and further requests a hearing on its objections under Local Rule 7(g).

                                                      Respectfully Submitted,
    Date: May 11, 2021                                /s/ Korula T. Cherian


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                                         Korula T. Cherian
                                         Robert Harkins
                                         RuyakCherian LLP
                                         1936 University Ave., Suite 350
                                         Berkeley, CA 94702
                                         Telephone: (510) 944-0190
                                         sunnyc@ruyakcherian.com
                                         bobh@ruyakcherian.com

                                         Robert F. Ruyak
                                         Corrine Saylor Davis
                                         J. Michael Woods
                                         Jane Inkyung Shin
                                         RuyakCherian LLP
                                         1901 L St. NW, Suite 700
                                         Washington, DC 20036
                                         Telephone: (202) 838-1560
                                         corrinesd@ruyakcherian.com
                                         michaelw@ruyakcherian.com
                                         janes@ruyakcherian.com

                                         Elizabeth L. DeRieux
                                         State Bar No. 05770585
                                         Capshaw DeRieux, LLP
                                         114 E. Commerce Ave.
                                         Gladewater, TX 75647
                                         Telephone: (903) 845-5770
                                         ederieux@capshawlaw.com

                                         Mark Mann
                                         Blake Thompson
                                         Mann | Tindel | Thompson
                                         300 West Main
                                         Henderson, TX 75652
                                         Office 903-657-8540
                                         mark@themannfirm.com
                                         blake@themannfirm.com

                                         Counsel for Plaintiff Team Worldwide
                                         Corporation




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 11th day of May 2021, I electronically filed the foregoing with

   the Clerk of the Court using the CM/ECF filing system, which will automatically notify all

   registered counsel of record.

                                                                /s/ Korula T. Cherian
                                                                Counsel for Plaintiff Team
                                                                Worldwide Corporation




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